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                                                Reset Form



                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


        Fourth Circuit No. 07-4059(L) 07-4115     District Court No. RWT-04-235

        Style of Case: US v LaVon Dobie, et al

                     REQUEST FOR EXTENSION OF TIME AND WAIVER OF
                         APPLICABLE FEE REDUCTION SANCTION

              I request an extension of time and waiver of applicable fee reduction
              sanctions until 1/12/09      for the filing of the transcript which is
              due on 12/31/08 . As of this date, approximately 1,000 pages have
              been completed and 225 pages are yet to be transcribed.

                                  JUSTIFICATION IS AS FOLLOWS:

        A.    Outstanding District Court transcripts ordered within 90 days of this
              request. Any pending appellate transcripts will be taken into
              consideration in deciding this request.

               08-4486; US v Rendelman; 08-5078, US v Perez; 08-1261 Fuerth v Winarsky; 08-2058,
               Collis v Bank of America; 08-4551, US v Vasquez-Martinez
        B.     In-Court Time: (give total days/hours by month)
               Dec - 12 days; 92 hours
        C.     Travel: (give hours spent traveling to and from Court by month)
                Dec - 24 (approx 1 hour each way)
        D.     Other: (please provide any other information you would like the Court to consider
        when reviewing your request. Please be aware that this information will be posted on the
        public docket.)

              I have one hearing held in Jan '06 relating to Ms. Dobie alone, which is in the process of
              being completed; I also have encountered a technical 'glitch' with the charge conference
              which was held during the trial and need a few additional days to complete dictating from
              paper notes and then re-stroking and proofreading same. I also came down with the flu or
              something closely akin on Dec 30, and it wiped me out for about 3 days. Thank you for your
              patience.


                   Date: January 5, 2009
                         _____________                         /s/ Tracy Rae Dunlap, RPR, CRR
                                                         Name: ___________________________
